18-13359-shl          Doc 896         Filed 04/08/19          Entered 04/08/19 16:42:06                     Main Document
                                                             Pg 1 of 3


John E. Mitchell (Admitted Pro Hac Vice)                                Andrea S. Hartley (Admitted Pro Hac Vice)
Yelena Archiyan (Admitted in New York)                                  Joanne Geland (Admitted in New York)
AKERMAN LLP                                                             Katherine C. Fackler (Admitted Pro Hac Vice)
2001 Ross Avenue, Ste. 3600                                             AKERMAN LLP
Dallas, TX 75201                                                        98 Southeast Seventh Street, Ste. 1100
Tel.: (214) 720-4300                                                    Miami, FL 33131
Fax: (214) 981-9339                                                     Tel.: (305) 374-5600
                                                                        Fax: (305) 374-5095
Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                           )            Chapter 11
                                                                 )
MIAMI METALS I, INC., et al.1                                    )            Case No. 18-13359 (shl)
                                                                 )
                                  Debtors.                       )            (Jointly Administered)
                                                                 )
                                                                 )            RELATED DOC. NO. 706

                                DEBTORS' FIRST NOTICE OF
                         PROPOSED SALE OF PROPERTY OF THE ESTATE
                                     (Remaining Assets)

           Miami Metals I, Inc., et al., as debtors and debtors in possession (collectively, the

"Debtors"), by and through undersigned counsel and pursuant to this Court's Order Granting

Debtors' Amended Motion to Sell Remaining Assets of the Estate Free and Clear of All Liens,

Claims, Rights, Title, Interests and Encumbrances Pursuant to 11 U.S.C. § 363 (the "Sale

Order") [ECF No. 706]2, hereby give notice of their interest to sell certain Remaining Assets, as

set forth below:


1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:
Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194); Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th Avenue, Miami, FL 33054 (4378);
Miami Metals III LLC (f/k/a Republic Carbon Company), LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833);
Miami Metals IV LLC (f/k/a J & L Republic LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7604); Miami Metals V LLC
(f/k/a R & R Metals, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (7848); Miami Metals VI (f/k/a RMC Diamonds, LLC),
12900 NW 38th Avenue, Miami, FL 33054 (1507); Miami Metals VII (f/k/a RMC2, LLC, 12900 NW 38th Avenue, Miami, FL
33054 (4696); Miami Metals VIII (f/k/a Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054 (6102),
12900 NW 38th Avenue, Miami, FL 33054 (1507); Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu
District, Shanghai, P.R. 200001 China (1639); and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5,
Local 409, Centro Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).

2
    Defined terms from the Order are incorporated by reference herein.

48461792;1
18-13359-shl      Doc 896     Filed 04/08/19    Entered 04/08/19 16:42:06           Main Document
                                               Pg 2 of 3


         1.     Remaining Asset(s): 400 ozt of AG Grain and 1,000 1-oz AG Buffalo Rounds

         2.     Sale Price: spot price, less $.145/oz

         3.     Payment Terms: Payment will be made at the time of shipment at spot price.

         4.     Refining or Processing Fees and Charges: None.

         5.     Date of Sale, Delivery, or Settlement:           Approximately two (2) days after

expiration of the objection period under this Notice.

         6.     Debtors' estimate of good faith allocation: 29% to Grain; 71% to Buffalo

Rounds.

         Pursuant to the Sale Order, interested parties shall have five (5) business days from

the date of this Notice to file an Objection hereto. Any Objection must (a) be in writing, (b)

set forth the precise nature of the Objection, and (c) be filed with the Court and served via U.S.

Mail upon the Debtors, on or before the Objection Deadline. If an Objection is filed, the Debtors

will request the Court schedule a hearing on the Objection.

         If no timely Objection is filed and served with respect to this Notice, then without further

order of the Court, the Debtors shall be authorized to sell the subject Remaining Asset(s) on the

terms proposed above.

Dated: April 8, 2019
                                                      AKERMAN LLP

                                                      By:    /s/Katherine C. Fackler
                                                         Katherine C. Fackler (Admitted Pro Hac Vice)
                                                         Andrea S. Hartley (Admitted Pro Hac Vice)
                                                         Joanne Gelfand (Admitted in New York)
                                                         98 Southeast Seventh Street, Suite 1100
                                                         Miami, FL 3313
                                                         Tel.: (305) 374-5600
                                                         Fax: (305) 374-5095
                                                         E-Mail: andrea.hartley@akerman.com
                                                         E-Mail: joanne.gelfand@akerman.com
                                                         E-Mail: katherine.fackler@akerman.com


                                                  2
48461792;1
18-13359-shl   Doc 896   Filed 04/08/19    Entered 04/08/19 16:42:06         Main Document
                                          Pg 3 of 3


                                                                     -and-

                                                   John E. Mitchell (Admitted Pro Hac Vice)
                                                   Yelena Archiyan (Admitted in New York)
                                                   2001 Ross Avenue, Suite 3600
                                                   Dallas, TX 75201
                                                   Tel.: (214) 720-4300
                                                   Fax: (214) 981-9339
                                                   E-Mail: john.mitchell@akerman.com
                                                   E-Mail: yelena.archiyan@akerman.com

                                                Counsel for Debtors and Debtors-in-Possession




                                            3
48461792;1
